Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 1 of 19




                               EXHIBIT 5
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 2 of 19




                                                                                      SANTOS-EXP 000248
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 3 of 19
SANTOS-EXP 000249
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 4 of 19




                                                                                      SANTOS-EXP 000250
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 5 of 19
SANTOS-EXP 000251
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 6 of 19




                                                                                      SANTOS-EXP 000252
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 7 of 19
SANTOS-EXP 000253
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 8 of 19




                                                                                      SANTOS-EXP 000254
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 9 of 19
SANTOS-EXP 000255
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 10 of 19




                                                                                       SANTOS-EXP 000256
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 11 of 19
SANTOS-EXP 000257
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 12 of 19




                                                                                       SANTOS-EXP 000258
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 13 of 19
SANTOS-EXP 000259
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 14 of 19




                                                                                       SANTOS-EXP 000260
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 15 of 19
SANTOS-EXP 000261
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 16 of 19




                                                                                       SANTOS-EXP 000262
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 17 of 19
SANTOS-EXP 000263
Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 18 of 19




                                                                                       SANTOS-EXP 000264
                    Case 1:19-cv-23084-KMW Document 65-6 Entered on FLSD Docket 09/28/2020 Page 19 of 19
SANTOS-EXP 000265
